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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                                   CIVIL ACTION NO. 12-859

    VERSUS                                                  SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                                   JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH



       CITY OF NEW ORLEANS’ NOTICE TO SUPPLEMENT COURT RECORD
     PURSUANT TO THE COURT’S ORDER OF MARCH 16, 2022 (REC. DOC. 1497)

        NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, City

of New Orleans (“City”), who respectfully submits this notice to supplement the record, pursuant

to the Court’s order and directive of March 16, 2022,1 and represents as follows:

        In its Minute Entry of March 16, 2022 (“Minute Entry”),2 the Court ordered the City “. . .

to produce to the parties and to the Court all documentation of any sort (i.e., written

correspondence, emails, and/or minutes of meetings or telephone conferences) of communications

between the City and/or its consultants on the one hand and FEMA on the other regarding the

alleged need to ‘reopen’ or extend the 106 process, including FEMA’s direction that additional

public hearings are required prior to the procurement phase being initiated,” and to supplement the

record as the City continues to communicate with FEMA concerning Phase III. The City has

produced documents3 in response to the Court’s order and, consistent with that ongoing directive,4

hereby supplements its production with the following information:




1
  R. Doc. 1497.
2
  Id.
3
  R. Doc. 1498; R. Doc. 1506; R. Doc. 1511; R. Doc. 1516; R. Doc. 1517; R. Doc. 1522; R. Doc. 1527; R. Doc.
1529; R. Doc. 1533; R. Doc. 1535; R. Doc 1540; R. Doc. 1542, R. Doc. 1547; R. Doc. 1552; R. Doc. 1553: R. Doc.
1554, R. Doc 1557, R. Doc 1558.
4
  R. Doc. 1497. See also R. Doc. 1526.
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       1.) The City has not submitted any documentation to, nor has it received any

           documentation from, FEMA concerning Phase III. Nor has the City communicated

           with FEMA concerning Phase III this past week.

       The City respectfully acknowledges that it is under an ongoing obligation to supplement

this production as it continues to communicate with FEMA concerning Phase III.

                                            Respectfully submitted,

                                            /s/ Donesia D. Turner
                                            DONESIA D. TURNER (LSBA #23338)
                                            City Attorney
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                                            NEW ORLEANS, LOUISIANA 70112
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                                            FACSIMILE: (504) 658-9868

                                            Counsel for the City of New Orleans




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 2, 2022, a copy of the foregoing was served,

contemporaneously or prior, upon all counsel of record in this proceeding via the court’s CM/ECF

system.

                                     /s/ Donesia D. Turner
                                     DONESIA D. TURNER




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